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 8                                       UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA
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11       DAVID WAYNE WILSON,                                 Case No.: 1:22-cv-00455-JLT-CDB (PC)

12                          Plaintiff,                       ORDER GRANTING DEFENDANTS’ EX
                                                             PARTE APPLICATION FOR AN
13             v.                                            EXTENSION OF TIME WITHIN WHICH
                                                             TO FILE REPLY
14       LURA MERRITT, et al.,
                                                             (Doc. 66)
15                          Defendants.
16

17            Plaintiff David Wayne Wilson is proceeding pro se and in forma pauperis in this civil

18   rights action pursuant to 42 U.S.C. § 1983. The action proceeds on Plaintiff’s constitutional

19   claims against Defendants Fishburn,1 Merritt and Carlson.

20            I.      INTRODUCTION

21            On May 13, 2024, Defendants filed a motion to revoke Plaintiff’s in forma pauperis (IFP)

22   status (Doc. 62) and Plaintiff filed an opposition to the motion on May 30, 2024 (Doc. 64).

23            On June 12, 2024, Defendants filed an ex parte application for an extension of time within

24   which to reply to Plaintiff’s opposition. (Doc. 66.)

25            II.     DISCUSSION

26            Defendants seek a 28-day extension of time, to and including July 11, 2024. (Doc. 66 at

27   3.) They assert Plaintiff’s opposition to the motion to revoke IFP is lengthy and “includes

28   1
      Defendants’ answer to Plaintiff’s first amended complaint notes “Defendant Correa is sued under the name
     ‘Fishburn.’” (See Doc. 53 at 1, n.1.)
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 1   extensive factual assertions and legal citations, and is accompanied by a request for judicial

 2   notices and twenty-eight pages of exhibits.” (Id.) Defendants maintain a substantive and thorough

 3   response to Plaintiff’s opposition will require a significant dedication of time. (Id.) Further,

 4   defense counsel states his obligations in other assigned matters will preclude him from filing a

 5   reply by the current deadline and provides specific information concerning those obligations. (Id.

 6   at 3-4, 6-7.) Defendants state they do not believe Plaintiff will be prejudiced by the requested

 7   extension and have not sought a previous extension of time to file and serve the reply. (Id. at 4.)

 8          III.      CONCLUSION AND ORDER

 9          For good cause shown, IT IS HEREBY ORDERED that:
10          1. Defendants’ ex parte application for an extension of time within which to file a reply

11                 to Plaintiff’s opposition to Defendants’ motion to revoke IFP status (Doc. 66) is

12                 GRANTED;

13          2. Defendants SHALL file any reply to Plaintiff’s opposition no later than July 11,

14                 2024.

15   IT IS SO ORDERED.
16
        Dated:       June 13, 2024                              ___________________                     _
17                                                       UNITED STATES MAGISTRATE JUDGE

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